                                       THIS ORDER IS
                                       APPROVED.



                                       Dated: June 16, 2010



                                             ________________________________________
                                                         JAMES M. MARLAR
                                                       Chief Bankruptcy Judge
                                       ________________________________________




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